       Case 3:21-cv-00477-MCC Document 124 Filed 05/05/22 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE, et al.,                          :     Civil No. 3:21-CV-477
                                           :
      Plaintiffs,                          :
                                           :
            v.                             :
                                           :     (Magistrate Judge Carlson)
SCHUYLKILL COUNTY                          :
COURTHOUSE, et al.,                        :
                                           :
      Defendants.                          :


                                   ORDER

      AND NOW this 5th day of May 2022, in accordance with the accompanying

Memorandum Opinion, Defendant Bender and the County’s motion to dismiss (Doc.

71) is GRANTED IN PART AND DENIED IN PART as follows: The motion will

be GRANTED with respect to the PHRA discrimination claim against Defendant

Bender (Count V), as well as the claim for punitive damages against Bender under

the PHRA. The motion is DENIED in all other respects.


                                           S/ Martin C. Carlson
                                           Martin C. Carlson
                                           United States Magistrate Judge
